FILED

U.S. DISTRICT COURT
(MIDDLE DISTRICT OF TENN.

 

UNITED STATES DISTRICT COURT MAR 04 2022
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION
UNITED STATES OF AMERICA ) Le —
) No. 5.GA-00079 DEPUTY CLERK
Vv. )
) 18 U.S.C. § 1343
[1] ROBIN SMITH ) 18 U.S.C. § 1346
) 18 U.S.C. §2
) 18 U.S.C. § 981
INFORMATION

THE UNITED STATES CHARGES:
BACKGROUND ALLEGATIONS
At all times material to this Information unless otherwise indicated:

1. Defendant ROBIN SMITH was a member of the Tennessee House of
Representatives (“Tennessee House”), representing District 26, which included part of Hamilton
County, Tennessee. SMITH was first elected to the Tennessee House in or around November
2018. SMITH also owned and operated a political consulting company called Company 1.
Company | provided political consulting, mail, and project management services.

2. Individual 1 was a member of the Tennessee House, first elected in 2003. Individual
1 served as Speaker of the Tennessee House from in or around January 2019 until in or around
August 2019. In or around August 2019, Individual 1 resigned as Speaker after a scandal became
public. Individual 1 also owned and operated a political consulting company called Company 2.
Individual 1 started Company 2 in or around October 2019 to provide fundraising services to
Political Party 1 lawmakers.

3. Individual 2 was a businessman and former Chief of Staff to Individual 1 when
Individual 1 was Tennessee House Speaker. In 2019, multiple news forums published allegations

that Individual 2 had committed inappropriate and illegal conduct. Based on public reporting,

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Individual 2 admitted certain allegations, and, on or about May 3, 2019, Individual 2 resigned his
position as Chief of Staff.

4... The State of Tennessee (“the State”) allocated Tennessee Representatives $3,000
annually to fund postage and printing of items to be sent to the legislators’ constituents (“the Mailer
Program”). According to Tennessee House guidelines, Representatives were permitted to use
Mailer Program funds to design and mail “legislative update mailers” and legislative surveys to
their constituents. Representatives were permitted to use campaign funds to offset additional
expenses beyond the $3,000 allocated under the Mailer Program.

5. The Tennessee House Speaker’s Office had the authority to approve or deny a
vendor to provide services or any mailing funded by the Mailer Program.

6. In or around November 2019, Individual 2 established Phoenix Solutions, LLC.
Phoenix Solutions was established, with SMITH and Individual 1’s knowledge and support, for
the purpose of offering mail and consulting services for legislative members facing primary
challengers, and was later expanded to offer constituent mail services to members of the Tennessee
General Assembly. SMITH, Individual 1, and Individual 2 told others, including members of the
Tennessee General Assembly and the House Speaker’s Office, that Phoenix Solutions was run by
an individual named “Matthew Phoenix.” SMITH, Individual 1, and Individual 2 claimed that
Matthew Phoenix was an experienced political consultant who had worked for Consulting Firm 1,
a real company based in Washington, D.C. In truth and in fact, Individual 2 ran Phoenix Solutions
and SMITH, Individual 1, and Individual 2 profited from it.

7. SMITH, Individual 1, and Individual 2 knew that Matthew Phoenix was a fictitious

person and was, in truth and in fact, Individual 2.

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8. SMITH, Individual 1, and Individual 2 concealed Individual 2’s involvement in
Phoenix Solutions from the State and members of the Tennessee General Assembly due to the
expectation that Phoenix Solutions would not be approved by the Tennessee House Speaker’s
Office, acting on behalf of the State, or hired as a vendor by individual members if Individual 2’s
involvement was disclosed. SMITH, Individual 1, and Individual 2 also concealed the fact that
Individual 2 kicked back a portion of the profits from the State and members of the Tennessee
General Assembly to SMITH and Individual 1 due to the expectation that Phoenix Solutions
would not be approved by the Tennessee House Speaker’s Office, acting on behalf of the State, or
hired as a vendor by individual members if Individual 2’s operational involvement and financial
interests in the business and the kickbacks to SMITH and Individual 1 were disclosed.

9, SMITH and Individual 1 received kickbacks from Individual 2 in exchange for
using their positions as members of the Tennessee House of Representatives to perform official
acts, including pressuring the Tennessee House Speaker’s Office to approve Phoenix Solutions as
a Mailer Program vendor and disburse State funds to Phoenix Solutions.

10. Individual 2, with SMITH and Individual 1’s knowledge and support, set up an
email account for Matthew Phoenix, matthew@powerofphoenix.com, which Individual 2 used to
conduct business on behalf of Phoenix Solutions.

11. Individual 2 incorporated Phoenix Solutions as a limited liability company (LLC)
in New Mexico. Individual 2 set up a United States Postal Service post office box for Phoenix
Solutions there and forwarded the mail received by that post office box to his home address in
Nashville. Individual 2 later explained to SMITH that he established the post office box in New

Mexico because that state allows the anonymous registration of LLCs.

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12. In or around January 2020, SMITH was informed by an employee of the Tennessee
House Speaker’s Office that the Speaker’s Office needed to work directly with the third-party
vendor, which was a change in the existing guidelines employed by legislative members for
constituent mail. SMITH informed Individual 2 of this fact. Individual 2 was notified that the
State could not pay Phoenix Solutions without an Internal Revenue Service Form W-9 on file. In
response, Individual 2, assuming the identity of Matthew Phoenix to disguise his true identity, sent
a W-9 signed by “Matthew Phoenix” from the matthew@powerofphoenix.com email address to
the Tennessee House Majority Caucus Advisor for the purpose of filing it with the State.

13. On or about December 18, 2019, SMITH emailed Individual 2. Referencing a
potential future conversation related to Phoenix Solutions with a Political Party | employee
regarding a campaign mailing list that each incumbent legislative member was to receive, SMITH
told Individual 2 that he “may have to assume the role of Matthew again.” Individual 2 replied to
SMITH, “Matthew, reporting for duty!” and included a graphic interchange format (“.gif”) picture
of a salute from Harrison Ford’s character Han Solo in the movie Star Wars.

14. On or about January 24, 2020, SMITH emailed Individual 2, writing, “We’ll start
with this...Matthew...you might expect some type of call, email.” Below, SMITH copied an email
chain between SMITH, the Acting Chief of Staff to the House Speaker, and the General
Assembly’s Director of Legislation. In the email chain, SMITH asked the officials about the status
of Mailer Program payments to Phoenix Solutions and why there was an issue with processing
them. The Acting Chief of Staff wrote SMITH, “I’m on it.” SMITH replied, “Don’t crush her,
but [the Director of Legislation has] been telling this vendor that the check’s on the way for about

two weeks.” SMITH falsely added, “It’s guys from [Consulting Firm 1] who did mail two years

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ago that left and started their own gig...tired of doing the DC/Trump stuff. Thanks.” SMITH then
forwarded the email chain to Individual 2, adding the message, “Shhhhhhhhhh.”

15. Individual 3 was Individual 2’s girlfriend. At times, Individual 3 assumed the
fictitious role of “Candice,” another alleged employee of Phoenix Solutions.

16. On or about June 16, 2020, Individual 3 and Individual 2 emailed each other as
“Candice” and “Matthew.” The purpose of the email exchange was to falsely make it appear as if
two employees of Phoenix Solutions were having an exchange about the need to secure payment
on outstanding Mailer Program invoices that the State had not yet paid. Individual 2, using the
matthew@powerofphoenix.com email account, then forwarded the exchange to SMITH.

17. On or about June 22, 2020, SMITH emailed the General Assembly’s Director of
Legislation, copying the Acting Chief of Staff to the House Speaker, to complain about delays in
Mailer Program payments from the State to Phoenix Solutions. SMITH forwarded them the June
16, 2020, email exchange between “Candice” and “Matthew” complaining about the delayed
payments. Above that email chain, SMITH wrote, “[Director of Legislation], I was cc’d on this
last week. .. . It would be either illegal or unethical to move to print without knowing payment
was coming, so the bulk permit number is provided on the invoice. Simpler, asking a firm to be
liable for the cost with the printing completed before knowing payment may or may not be
approved is suspect. Is there something going on?” Enclosed within SMITH ’s email were invoices
from Phoenix Solutions for legislative mailers on behalf of two Representatives, for $4,547.50 and
$5,537.

18. On or about May 20, 2020, SMITH discussed Phoenix Solutions with a member
of the Tennessee House Political Party 1 caucus. SMITH described Phoenix Solutions as her

preferred survey mailer company. SMITH falsely said that Phoenix Solutions was owned and

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operated by Matthew Phoenix, an experienced political consultant with whom SMITH did
business when SMITH used Washington, D.C.-based Consulting Firm 1 for political work.
SMITH falsely said that Matthew Phoenix and his associate, Candice, got tired of living in the
Washington, D.C. area and decided to move back home to New Mexico, where Phoenix started
Phoenix Solutions. SMITH falsely said that she used Phoenix Solutions because of the quality of
its work.

19. On or about August 10, 2020, SMITH attended a meeting of the Political Party 1
House campaign committee. Present at the meeting were several Tennessee Representatives,
officials from the Speaker’s Office, and a committee consultant. SMITH repeated the same false
statements regarding Phoenix Solutions that she had made to the caucus member on or about May
20, 2020. She also falsely told the committee members that she did not make any money from
Phoenix Solutions.

20. | Onor about April 2, 2020, Individual 2 sent an email to SMITH and Individual 1.
The email stated, “Friends, Here’s our up-to-date printing spreadsheet. All of these checks have
been collected and deposited. All bills related to these print jobs have also been paid. So, let me
know what address is best for you and I will cut checks for each of you?” Individual 2 provided a
breakdown of total profit earned from each client. SMITH, Individual 1, and Individual 2 shared
the profits, with Individual 2 earning 30%. Individual 1 and SMITH each earned $4,143.64, which
was 25% of the business, each, Individual 2 wrote that the remaining 20% of the profit was “left
in business.” Individual 2 also discussed ways to cut Phoenix Solutions’ future costs.

21. From on or about June 1, 2020, through on or about December 1, 2020, Phoenix
Solutions took on more varied projects, but continued to receive payments from the State-funded

Mailer Program and campaign accounts of members of the General Assembly. During that

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timeframe, a Phoenix Solutions bank account ending in x3886 received revenue of approximately
$158,165, excluding payments from campaign accounts associated with SMITH and Individual
1. From on or about January 1, 2020, through on or about December 31, 2020, Phoenix Solutions,
Company 1, and Company 2 received approximately $51,947 from the State in payments
associated with the Mailer Program.

22. On or about September 10, 2020, SMITH endorsed and deposited check number
152, dated September 1, 2020, in the amount of $12,003.16, from Phoenix Solutions’ account
number x3886 into a bank account associated with her consulting firm, Company 1. Individual 2
signed the check in his given name and wrote “Consulting” on the memo line.

23. | On or about December 17, 2020, SMITH endorsed and deposited check number
170, dated December 16, 2020, in the amount of $12,116.96, from Phoenix Solutions’ account
number x3886 into a bank account associated with Company |. Individual 2 signed the check in

his given name and wrote “Consulting” on the memo line.

COUNT ONE
18 U.S.C. §§ 1343, 1346
(Honest Services Wire Fraud)

24. Paragraphs 1 through 23 are incorporated and realleged as if fully set forth herein.
25. Beginning in or around November 2019 and continuing until in or around January
2021, in the Middle District of Tennessee and elsewhere, the Defendant,

ROBIN SMITH,

aided and abetted by others, including Individual | and Individual 2, devised and intended to devise
a scheme and artifice to defraud and deprive the citizens of the Middle District of Tennessee and
the government of Tennessee of their right to the honest services of a public official, namely the
honest services of SMITH and Individual 1, members of the Tennessee House of Representatives,

through kickbacks.

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26. — In the Middle District of Tennessee and elsewhere, SMITH, aided and abetted by
others, including Individual | and Individual 2, having devised and intended to devise the above-
described scheme, and for the purpose of executing the scheme, transmitted and caused to be
transmitted by means of wire communication in interstate commerce, writings, signs, signals,
pictures, and sounds.

All in violation of Title 18, United States Code, Sections 1343, 1346, and 2.

FORFEITURE ALLEGATION

1, The allegations contained in this Information are re-alleged and incorporated by
reference as if fully set forth in support of this forfeiture.

2. Upon conviction of Count One of this Information, the defendant, ROBIN
SMITH, shall forfeit to the United States, pursuant to Title 18, United States Code, Section
981(a)(1)(C), by Title 28, United States Code, Section 2461, any property, real or personal, which
constitutes or is derived from proceeds traceable to the offense, including but not limited to a

money judgment in an amount to be determined representing the value of the proceeds of the

offense.
3. If any of the property described above, as a result of any act or omission of SMITH:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;
d, has been substantially diminished in value; or
e. has been commingled with other property that cannot be divided without difficulty,

the United States shall be entitled to forfeiture of substitute property, and it is the intent of the

United States, pursuant to Title 21, United States Code, Section 853(p), as incorporated by

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reference in Title 28, United States Code, Section 2461(c), to seek forfeiture of any other property

of SMITH up to the value of the property listed above as being subject to forfeiture.

MARK H. WILDASIN
UNITED STATES ATTORNEY
MIDDLE DISTRICT OF TENNESEE

VLA ~

MANDA J. KOPF
ASSISTANT UNITED STATES ATTORNEY

COREY R. AMUNDSON
CHIEF, PUBLIC INTEGRITY SECTION

Nao.

JOHN P. TADDEI
TRIAL ATTORNEY

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